Case 6:22-cv-00885-RRS-CBW Document 161 Filed 11/03/22 Page 1 of 1 PageID #: 4199




                               UNITED STATES DISTMCT COURT
                               WESTERN DISTMCT OF LOmSIANA
                                    LAFAYETTE DIVISION

  STATE OF LOUISIANA ET AL                             CASE NO. 6:22-CV-00885

  VERSUS                                               JUDGE ROBERT R. SUMMERHAYS

  CENTERS FOR DISEASE CONTROL &                        MAGISTRATE JUDGE CAROL B.
  PREVENTION                                           WHITEHURST


                                              ORDER

         Presently before the Court is the Plaintiff States9 Motion for Order to Show Cause [ECF

  No. 160].


         IT IS ORDERED THAT within seven (7) days, the Defendants shall file a response to the

  Motion for Order to Show Cause; and if Plaintiff States wish to reply to the response, it shall be


  filed within seven (7) days thereafter.

           THUS DONE in Chambers on this 3rd day of November, 2022.




                                                          ROBERT R. SUMMEI
                                                       UNITED STATES DISTRICT,
